
The People of the State of New York, Appellant,
againstEric Bianco, Respondent.




District Attorney Orange County (Andrew R. Kass and Frank R. Moy of counsel), for appellant.
Respondent, Pro Se (no brief filed)

Appeal from an order of the Justice Court of the Village of Goshen, Orange County (Rory K. Brady, J.), dated July 15, 2015. The order granted defendant's motion to dismiss the accusatory instrument.




ORDERED that the order is reversed, on the law, and defendant's motion to dismiss the accusatory instrument is denied.
In this prosecution for multiple counts of criminal contempt in the second degree (Penal Law § 215.50 [3]) and non-support of a child in the second degree (Penal Law § 260.05 [2]), the People appeal from an order granting defendant's motion to dismiss the accusatory instrument.
For the reasons stated in People v Moody (53 Misc 3d 31 [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2016]), the order is reversed and defendant's motion to dismiss the accusatory instrument is denied.
Iannacci, J.P., Tolbert and Brands, JJ., concur.
Decision Date: May 23, 2017










